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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA
NORTHWESTERN DIVISION

Energy Heating, LLC, an Idaho limited
liability company; Rocky Mountain Oilfield
Services, LLC, an Idaho limited liability
company,

Plaintiff/Counterclaim Defendants,
vs. Civil Case No. 4:13-cv-10
Heat On-The-Fly, LLC, a Louisiana limited SPECIAL VERDICT FORM
liability company, and Super Heaters
North Dakota, a North Dakota limited
liability company,

Defendants,

Heat On-The-Fly, LLC, a Louisiana limited
liability company,

Counterclaimant.

 

Heat On-The-Fly, LLC, a Louisiana limited
liability company,

Third-Party Plaintiff/Counterclaim
Defendant,

vs.
Marathon Oil Corporation,

Third-Party Defendant/

 

Counterclaimant.
Trademark
1. To the greater weight of the evidence is the mark “Heat On-The-Fly” generic?

If your answer to Question 1 is “Yes”, please SKIP Question 2 and proceed to
Question 3. If your answer to Question 1 is “No”, please answer Question 2.

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2. To the greater weight of the evidence has the mark “Heat On-The-Fly” acquired
secondary meaning?

Yes No
Bad Faith

3. Do you find to the greater weight of the evidence that Heat On-The-Fly made
representations to Triangle Oil that it had a valid patent?

xX Yes ____No

If your answer to Question 3 is “Yes”, please proceed to Question 4. If your
answer to Question 3 is “No”, please STOP and sign and date the bottom of this
form.

4. Do you find by clear and convincing evidence that the representations were made
in bad faith?

x Yes No

If your answer to Question 4 is “Yes”, please proceed to Question 5. If your
answer to Question 4 is “No”, please STOP and sign and date the bottom of this
form.

State Law Claims

5. Do you find by clear and convincing evidence that Heat On-The-Fly committed
the tort of deceit?

Yes x No

6. Do you find to the greater weight of the evidence that Heat On-The-Fly engaged
in an unlawful sales or advertising practice?

K Yes ___—No

Ifyour answer to Question 6 is “Yes”, please proceed to Question 7. If your
answer to Question 6 is “No”, please SKIP Question 7 and proceed to Question 8.

7. Did Heat On-The-Fly knowingly engage in unlawful sales or advertising
practices?

__/X\_ Yes ____—=—No

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10.

11.

12.

13.

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Do you find to the greater weight of the evidence that Heat On-The-Fly
committed the tort of slander?

___—sYees x No

Did Energy Heating have a contract with Triangle Oil?

) 4 Yes No

If your answer to Question 9 is “Yes”, please proceed to Question 10. If your
answer to Question 9 is “No”, please SKIP Question 10 and proceed to Question
11.

Did Heat On-The-Fly unlawfully interfere with Energy Heating’s contract with
Triangle Oil?

x Yes _____—No

Did Energy Heating have a prospective business relationship with Triangle Oil?

xX. Yes ______No

If your answer to Question 11 is “Yes”, please proceed to Question 12. If your
answer to Question 11 is “No”, please SKIP Question 12 and proceed to Question

13.

Did Heat On-The-Fly unlawfully interfere with Energy Heating’s prospective
business relationship with Triangle Oil?

X Yes __—No

If your answer to Question 10 or Question 12 is “Yes”, please proceed to Question
13. If your answer to Question 10 or Question 12 is “No”, please SKIP Question
13 and sign and date the verdict form.

What damages do you find were caused by the intentional conduct of Heat On-
The-Fly?

s £750, 000 2

Dated at Fargo, North Dakota, this Ub day of September, 2015.

 

Presiding Juror (signature)

 

Presiding Juror (printed)

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